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FILED
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CLERK. U.S. DISTRICT COURT
NORTHERN DISTRICT GE
CLEVELAND OHS

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

WESTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
Plaintiff, 38 25 CR 000 87
Vv. CASE NO.
) Title 18, United States Code,
KATHY LIDDLE, ) Section 641
)
Defendant. ) JU DGE F ELM ICK

COUNT 1
(Theft of Government Property, 18 U.S.C. § 641)

The Grand Jury charges:

From in or around August 2016 to in or around March 23, 2020, in the Northern District
of Ohio, Eastern Division, Defendant KATHY LIDDLE, in a continuing course of conduct,
willfully and knowingly did steal, purloin and convert to her own use, without authority, dispose
of property of the United States exceeding $1,000 in value, belonging to the Social Security
Administration, an agency of the United States, to wit: ‘Title I] Retirement Insurance benefits, in
the amount of approximately $54,509, in violation of Title 18, United States Code, Section 641.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
